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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


TAMARA JEAN FARRELL-SHANLEY,          )
an individual,                        )
                                      )            CASE NO.: 1:21-cv-00986-SDG
            Plaintiff,                )
vs.                                   )
                                      )
BURLINGTON COAT FACTORY               )
WAREHOUSE CORPORATION,                )
a Florida Corporation,                )
                                      )
and                                   )
                                      )
SOUTHLAKE SDC, LLC,                   )
a Delaware Limited Liability Company, )
                                      )
            Defendants.               )
___________________________________/ )


                      JOINT NOTICE OF SETTLEMENT


      Plaintiff and Defendants, file this Notice of Settlement to advise the Court

that they have reached an agreement regarding all material issues in this case. The

parties are currently finalizing the language of their agreement and anticipate filing

a joint stipulation for dismissal within twenty (20) days. The parties further request

that all hearings and deadlines be adjourned.

Dated: May 20, 2021
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Respectfully submitted,                      Respectfully submitted,

/s/ John A. Moore                            /s/ Katherine M. Silverman
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/s/Kimberly B. Reeves       .




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LLC



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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 20th day of May, 2021, I electronically

filed the foregoing with the Clerk of Court by using CM/ECF system which will

send notice of electronic filing to all counsel of record.

                                               /s/ John A. Moore
                                               John A. Moore, Esq.




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